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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
LIMA ONE CAPITAL SPECIAL
SERVICING,
INC., a Delaware corporation,
                                             CIVIL ACTION FILE
                        Plaintiff,
vs.                                          NO. 18-04070-MLB
E.S. REAL ESTATE CONSORTIUM,
INC., a Georgia corporation;
CONSORTIUM TITLE, LLC, a
Virginia limited liability company;
INTEGRITY SETTLEMENT
SERVICES, LLC, a Florida limited
liability company; ANEAKA ENGLISH,
an individual; CASITA SIMPSON, an
individual; and COLEEN THOMAS; an
individual,
                        Defendants.


   PLAINTIFF’S RESPONSE TO DEFENDANTS E.S. REAL ESTATE
   CONSORTIUM, INC. AND ANEAKA ENGLISH’S EMERGENCY
  MOTION TO DENY OR DEFER CONSIDERATION OF PLAINTIFF’S
      PARTIAL MOTION FOR SUMMARY JUDGMENT AND
                 MEMORANDUM IN SUPPORT

      Plaintiff, Lima One Capital Special Servicing, Inc. (“Lima One”), by and

through its undersigned counsel, for its Response to Defendants’ E.S. Real Estate

Consortium, Inc.’s (“ESREC”) and Aneaka English’s (“English” and collectively

with ESREC, the “Defendants”) Emergency Motion to Deny or Defer

Consideration of Plaintiff’s Partial Motion for Summary Judgment and

Memorandum in Support, states as follows:

       1.   Lima One admits this matter has been pending for seven months.
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         2.     Lima One admits that there is a Motion to Dismiss pending before this

Court.        Lima One further states that ESREC was granted additional time to

respond to its complaint because it alleged the parties were close to a settlement

[Doc. No. 8], which the Court granted based on ESREC’s representations on the

same day it was filed.        However, it became apparent to Lima One that the

“settlement discussions” were just another delay tactic utilized by ESREC to

postpone having to repay the monies owed to Lima One. This is apparent as since

the Motion to Dismiss was filed, ESREC, nor any other defendant, has contacted

Lima One to discuss a potential settlement of this action.

         3.     Admitted. Lima One further states that it believes a status conference

with the Court is necessary at this point to set deadlines for the litigation.

         4.     Admitted.

         5.     Plaintiff admits it filed a Motion for Extension of Time; however,

Defendants objected to its request, and the Court has not granted the extension of

time. Therefore, it is impossible for Plaintiff to properly affect service due to

Defendants’ objection to Plaintiff’s request.

         6.     Plaintiff admits the Defendants have not filed answers or affirmative

defenses, but it denies those documents are necessary for any party to determine

the legal issues in this matter. Plaintiff’s assignor loaned money to a fictitious real

estate purchaser based on the representations of Defendants and Integrity


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Settlement Services, LLC (“Integrity”). Defendants nor Integrity have repaid the

amounts owed to Plaintiff. English has made several partial payments and both

English and Integrity have promised to repay the amount owed to Plaintiff.

Therefore, Defendants continue to make every procedural attack because they

have no legitimate legal or factual defenses.

      7.    Admitted.

      8.    Plaintiff admits it filed a Motion for Partial Summary Disposition

because there is no discovery necessary in this matter, as described in the Motion.

Correspondence from Defendants and Integrity Settlement Services, along with

the numerous promises to repay the amounts owed are attached to the Motion, and

Defendants have the knowledge to determine if there are any defenses available to

them (there are not). Further, Plaintiff’s Motion does not make any factual

allegations regarding Coleen Thomas or Consortium Title, LLC. Defendants’

latest attempt to stall these proceedings is not even accurate. Plaintiff’s Motion is

based on the actions of ESREC, English, and Integrity, and Defendants were

aware of that fact when they filed the instant Motion. This litigation has been

pending for almost eight months and Defendants have done everything to stall it.

      9.    As discussed below, Defendants do not need discovery to respond to

the Motion for Partial Summary Disposition as all the allegations and numerous

emails attached to the Motion relate specifically to ESREC, English, and Integrity.


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Therefore, any further delay is unnecessary, unwarranted, and will delay the

justice sought by Plaintiff.

                        Argument & Citation to Authority

      While Fed. R. Civ. P. 56(d) does allow the Court discretion when a non-

moving party shows that additional discovery is necessary before it can response to

a dispositive motion, as discussed in detail below, this is not the case in this matter.

Defendants themselves took these actions; therefore, they have all the knowledge

necessary to determine what defenses they believe they have to the Motion.

      A.     Pending Jurisdictional Issues

      If the Court determines that Lima One’s Motion for Partial Summary

Judgment cannot be determined until the jurisdictional issues are resolved, that

does not prevent Defendants from having to respond to the Motion. Defendants

did not raise the jurisdictional issues when objecting to Lima One’s mundane

request for additional time to serve the remaining defendants in this action, a

request that has yet to be granted to denied.

      Lima One agreed to postpone the filing of a Joint Preliminary Report and

Discovery Plan as it believed that Defendants were still willing to discuss

settlement while the Court reviewed ESREC’s Motion to Dismiss. However, the

Motion for Partial Summary Disposition pending before this Court requires no

discovery as the entire factual basis of it relates solely to the actions of ESREC,


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English, and Integrity, who have all appeared and are all parties to this litigation.

Seemingly they should be able to articulate and provide evidence of their own

actions and defenses.

      B.       Not All Defendants Are Required For The Court to Rule on a
               Motion for Partial Summary Disposition.

      Defendants rely on one allegation in Lima One’s Statement of Material Facts

to argue that Casita Simpson’s presence in this litigation is required. However,

that fact is immaterial to claims against the Defendants that filed this Motion, and

only material to claims against Integrity. Integrity certainly knows how it became

involved in this fraudulent scheme, so there is no discovery needed for it to

respond.

               C.    Discovery is not necessary for Defendants to Respond to the
                     Motion for Partial Summary Disposition.

      A review of Lima One’s Motion for Partial Summary Disposition makes it

clear that any information Defendants allege they need to respond is in their own

control.     The Motion specifically alleges what ESREC and/or English did,

themselves.     Likewise, the allegations against Integrity are based on emails

between Integrity and Lima One.        In a footnote, Defendants state they need

discovery regarding the following:

   - Understanding of the arrangement at the time of the transaction;

   - The other defendants’ understanding of the arrangement at the time of the
     transaction;
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   - Relation between timing of the exchange of money and the transaction;

   - Timing of any repayment; and

   - Any contingencies in the agreement.

[Doc. No. 33, pg. 8]. However, as English negotiated the deal, it can be assumed

she understands the “arrangement at the time of the transaction.” Further, ESREC,

English and Integrity were involved in the transaction, while they may have claim

against the unserved defendants for contribution, those issues are not relevant to

Lima One’s Motion for Partial Summary Disposition.

      Lima One is unable to determine what “the relation between timing of the

exchange of money and the transaction” means in this context. However, it is clear

from the emails attached to Lima One’s Motion that English was aware both

closings were to occur on the same day. Likewise, Integrity confirmed that both

closings were occurring on the same day. Therefore, any information regarding

the timing of the payments would be in Defendants’ possession and knowledge.

            As for the timing of any repayment and any contingencies in the

agreement, those alleged concerns are not the basis for a defense to an unjust

enrichment claim. Unjust enrichment is a simple concept. The Supreme Court of

Georgia has explained:

            A claim of unjust enrichment will lie if there is no legal
            contract and the party sought to be charged has been
            conferred a benefit by the party contending an unjust
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             enrichment which the benefited party equitably ought to
             return or compensate for. The concept of unjust
             enrichment in law is premised upon the principle that a
             party cannot induce, accept, or encourage another to
             furnish or render something of value to such party and
             avoid payment for the value received.

Campbell v. Ailion, 338 Ga. App. 382, 386–87, (2016). As such, a claim for unjust

enrichment will exist where a plaintiff asserts that:

      (1) Defendant induced the plaintiff to provide something of
          value to the defendant;

      (2) Plaintiff provided a benefit to the defendant with the
          expectation that the defendant would pay; and

      (3) Defendant knew of the benefit being bestowed upon it by
          the plaintiff and either affirmatively chose to accept the
          benefit or failed to reject it.

Id. at 387. If Defendants believe there is a contract (there is not), they are certainly

in possession of it and can produce it in response to Lima One’s Motion. ESREC,

English, and Integrity are in possession of all the knowledge necessary to defend

the Motion for Partial Summary Disposition. They just do not want to respond

because they have no defenses to Lima One’s claim.

      WHEREFORE, Plaintiff Lima One Capital Special Servicing, Inc.

respectfully requests that this Honorable Court deny Defendants’ Motion to Deny

or Defer Plaintiff’s Motion for Partial Summary Judgment as there is no discovery

necessary, and further delays in this action would be unjust. Plaintiff further



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requests that this Honorable Court set a status conference within thirty (30) days to

discuss the outstanding issues in this matter.

                                        Respectfully submitted,
                                              /s/ Emily M. Coyle
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Dated: March 20, 2019

             CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that this filing complies with the requirements of Local Rule

5.1B (Times New Roman, 14 point) and that I have this day served a copy of the

within and foregoing PLAINTIFF’S RESPONSE TO DEFENDANTS E.S. REAL

ESTATE CONSORTIUM, INC. AND ANEAKA ENGLISH’S EMERGENCY

MOTION TO DENY OR DEFER CONSIDERATION OF PLAINTIFF’S

PARTIAL MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM IN


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SUPPORT by electronically filing the same which sends a notification of filing to

counsel of record by the CM/ECF system to:

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So certified, this 20th day of March, 2019.
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